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                   IN THB UNITED STAl'ES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF OKLAHONIA


UNITED STATES OF AMERICA,                      )
                                              )
                         Plaintiff,            )
                                              )       CASE NO. cR-24-213-R
                                              )
l\4itchell Green                               )
                                               I


                                              )
                         Defendant. )
                         PETITION TO ENTER PLEA OF GUILTY

     The defendant states to the Court that the defendant wants to enter a plea of
GUILTY to the following count(s) of the Indictment or Information:
Possession of Material Containing Child Pornography 18 U.S.C. Section 2252A(a)(5)(B)


       In connection with this plea of GUILTY, I, Mitchell Green                   , the
defendant in this case, inform the Court, under penalty of   pedury, that I have discussed
these matters  with  my  attomey  and the answers to the fbllowing  questions are true and
correct to the best of my knowledge and belief.

A.       BACKGROUNDOUESTIONS

       Before the Court can accept your plea of guilty, it is necessary that the Court has
certain background information about you and this case. The questions in this section are
asked for this purpose.

1.       (a)       What is your name?    Mitchell Todd Green


         (b) What is your age?
2        Are you currently employed? Yes __           No X
         Ifyes, what are the name, address, and telephone number ofyour employer?



3.       How much education have you had?          B.S. Organizational Leadership
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4.        Have you ever received medical care or treatment for drug addiction and/or alcohol
          abuse? Yes             No x

          [f so, prior to the hearing on the Petition to Enter Plea of Guilty, counsel for
          defendant shall submit to thejudge's orders mailbox a list of the dates, places, and
          types of treatment received by defendant.]

5.        Have you ever received medical care or treatment for a mental or emotional
          condition? Yes             Nox

          [If so, prior to the hearing on the Petition to Enter Plea of Guilty, counsel for
          defendant shall submit to thejudge's orders mailbox a list of the dates, places, and
          types ol treatment received by defendant.]

6         (a)    Have you consumed any drug, alcohol or medication that is now impairing
          your ability to think clearly or to understand and answer the questions in this Petition
          to Enter Plea of Guilty? Yes              No x

          (b)                           - prescribed tbr you that you are not now taking as
                 Are there any medications
                 directed? Yes _           No x
                 Ifyes, does the fact that you are not taking the medication as directed impair
                 your ability to think clearly or to understand and answer the questions in this
                 Petition to Enter Plea of Guilty? Yes            No x
'1
     .                                                     - what is your attomey's name?
          If an attorne v is now representing you in this case,
                q/ 7. tlo,g *
8         Ifyou have an attorney, have you had enough time to talk with your attorney about
          your case? Yes X          No _
o         If you have an attorney, have you told your attomey everything you know about
          your case? Yes X          No _

10.       If you have an attorney, are you satisfied with the services your attomey has
          provided for you? Yes X            No _

1    1.   Do you understand the charge(s) against you'l Yes X             No




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B.      CONSTITUTIONAL RIGHTS - WAIVERS

       Before the Court can accept your plea of guilty, it is important that you understand
that you will be giving up many valuable constitutional rights by entering a plea of guilty.
The questions in this section are designed to inform you ofthose rights.

t2.     Do you understand you have a right to plead NOT GUILTY to every charge filed
        against you? Yes         X    No

13.     Do you understand if you plead
                                 -     NOT GUILTY you have the following
        constitutional rights:

        (a)     the right to a speedy and public trial by jury?
                Yes X            No

        (b)     the right to counsel at all stages of the proceedings, and that if
                you cannot afford to pay a lawyer, one will be appointed to
                represent you? Yes     X        No

        (c)                                           -
                the right to see and hear all witnesses called to testiry against
                you and the right to cross-examine them?
                Yes X            No

        (d)     the right to use the subpoena power ofthe Court to compel the
                attendance of witnesses at trial and the production of other
                forms of evidence? Yes     x      No

        (e)     the right not to be compelled to incriminate yourself by taking
                the witness stand; and that if you do not take the witness stand,
                no inference of guilt may be drawn from your failure to do so?
                Yes X            No

        (0      the right to be presumed innocent until the govemment has
                proved you guilty beyond a reasonable doubt by the unanimous
                agreement of all twelve of the jury members?
                Yes   X      No

t4      Do you understand if you plead GUILTY you will be found guilty without a trial
        and you will have given up all of the above rights, except the right to counsel?
        Yes X        No




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15      Do you understand if you plead GUILTY to a felony offense this may deprive you
        ofvaluable civil rights including the right to vote, the right to hold public office, the
        right to serue on a jury, the right to possess any kind of firearm, destructive device
        or ammunition, and may make you ineligible for certain govemment benefits?
        Yes X         No            Not Applicable

16. If you are not a-citizen of the United States, pleading guilty may affect your
        immigration status. Pleading guilty may result in your deportation or removal from
        the United States, may prevent you from ever lawfully reentering or remaining in
        the United States, and may result in the denial of naturalization. Deportation is
        mandatory for certain offenses, including most crimes involving controlled
        substances. You may be deported or removed from the United States even if you
        are a legal resident and even if you have legally lived in the United States for many
        years. Do you understand?
        Yes             No           Not Applicable x

C.      SENTENCING-GENERAL
              -                  -
       Before the Court can accept your plea of guilty, it is important that you understand
certain aspects of the sentencing process. The questions in this section are designed for
that purpose.

17.     Do you realize if you plead GUILTY to the count(s) stated in this plea petition the
        maximum statutory sentence the judge may impose remains the same as if you had
        pled NOT GUILTY to the count(s) and had been convicted by a jury?
        Yes   X      No

18.     Do you know the sentence you will receive is solely a matter for the judge to decide?
        Yes X              No

19      (a)       What is the maximum sentence the law provides for the offense(s) to which
                  you want to plead GUILTY?
                  Ten (10) years imprisonment or a fine of $250,000.00 or both and a special assessment
                  of $100.00 an assessment of $5,000.00 under '18 U.S-C. Section 3014, an assessment
                  of not more than $17,000.00 under 18 U.S.C. Section 22259A, a term of supervised release of not
                  less than 5 years or up to life and registration as a sex offender under the Sex Offender
                  Registration and Notification Act


       (b) Is there a minimum mandatory sentence the law provides for the offense(s)
           to which you want to plead GUILTY? Yes _         No x        If yes, what
                  is it?



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        (c)     For certain offenses a term of supervised release must be imposed to be
                served after the person is released from a term of imprisonment. Is there a
                mandatory term ofsupervised release for the offense(s) to which you want to
                plead GUILTY? Yes x               No          If yes, what is the mandatory
                term?
                Five (5) years to life
                                                              -

        (d)     For all other offenses, thejudge may, in thejudge's discretion, impose a term
                of supervised release to be served following the person's release from
                imprisonment. What is the maximum term of supervised release that could
                be imposed in this case?
                Life




        (e)     What is the maximum term of imprisonment that could be imposed if your
                supervised release were revoked?

                '10 years, however the sentence may exceed the statutory maximum if revoked on

                supervised releas after serving prison time




        (0      Will you be forfeiting any properfy to the United States as a result of your
                guilty plea? Yes X        No _         If yes, what property?
                Items in paragraph 10 of lhe Plea Agreement




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20      If you plead GUILTY, the judge may require you to make restitution to any
       victim(s) of the offense [18 U.S.C. $$ 3663 and3664]. If you plead GUILTY to
       an offense that fal1s into certain categories, including property offenses and crimes
       of violence, ordinarily the judge is required to order you to pay restitution to any
       victim(s) of the offense [ 8 U.S.C. $ 3663A]. Also, in certain cases, the law
       identifies specific classes of people or organizations that may be entitled to
       restitution. Restitution is a continuing obligation that does not end until it is paid
       in full. In other words, the United States may continue to seek restitution from you
       even though you are no longer serving a sentence of confinement or supervision.
       Do you understand all of this? Yes X           No

21     The judge must impose a special assessment for each count to which you enter a
                                                        -
       plea of guilty. The amount of the special assessment depends on whether the
       offense is a lelony or a misdemeanor [8 U.S.C. $ 3013]. In your case, taking into
       account each offense to which you want to plead guilty, the total amount ofspecial
       assessment is S 100.00                                     You may bc subject to
       additional assessments if you are convicted of a child pornography offense. Any
       special assessment(s) will be due at the time of sentencing. Do you understand
        this? Yes x             No

22      If you are on probation or parole in this or any other court, do you know that by
       pleading GUILTY here your probation or parole may be revoked and you may be
       required to serve a sentence as a result ofthat revocation in addition to any sentence
       imposed upon you in this case? Yes X             No _

23      Do you understand that in certain circumstances a lederal judge may order a federal
        sentence of imprisonment to mn at the same time as a state sentence of
        imprisonment? Yes X            No _

24      Do you understand if you are convicted o f certain violations, such as I 8 U.S.C. {i$
        924(c) or 1028A, or 21 U.S.C. $ 860a, the term of imprisonment imposed for that
        conviction cannot be served concurrently with any other term of imprisonment?
        Yes _        No _        Not Applicable X




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D. SENTENCING GUIDELINES AND OTHER SENTENCING
        CONSIDERATIONS

25      ln determining an appropriate sentence for a federal crime, thejudge must consider
        the Sentencing Cuidelines developed by the United States Sentencing Commission.
        The Sentencing Guidelines are advisory in nature, not mandatory. The judge must
        consider imposing a sentence within the range established by the Sentencing
        Guidelines, but the judge may impose a sentence either above or below that range.
        Do you understand this? Yes X           No

26                                                    - advisory Sentencing Guidelines, the
         In calculating the range of sentence under the
        judge will take into account all conduct, circumstances, and injuries associated with
         your criminal conduct, whether or not this conduct is formally charged by the
         government. The judge will consider all relevant conduct at the time of sentencing
         even though you may be pleading guilty to fewer than all counts in the Indictment
         or Information. Do you understand this? Yes x            No

27.     Also, there is no limitation placed on the information the judge
                                                                      - can consider at the
        time of sentencing concerning your background, character, and conduct so long as
        the information is reliable. The judge will take all of these factors into
        consideration in determining an appropriate sentence. Do you understand this?
        Yes X         No

28      If the judge orders a presentence investigation, a U.S. Probation Officer will be
        assigned to conduct a thorough investigation and prepare a presentence report for
        the judge's use. Do you understand that if you lie to the U.S. Probation Officer, or
        if you cause others to lie on your behali this can be considered by the judge and
        may increase the range of sentence calculated under the advisory Sentencing
        Guidelines? Yes x          No

29      Your history of prior criminal convictions will be used to compute your Criminal
        History Category under the Sentencing Guidelines. Ifyou have any prior felony
        conviction that was imposed or for which you have served time within 15 years of
        the present offense(s), your Criminal History Category may be increased.
        Similarly, if you have any misdemeanor conviction within l0 years of the present
        offense(s), your Criminal History Category may be increased. Certain exceptions
        may apply in your case that would exclude a conviction from the Criminal History
        Category computation. Nonetheless, do you understand your prior criminal history
        has a direct impact on the calculation of the sentencing range under the advisory
        Sentencing Guidelines? Yes X         No


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30.     If you committed the present offense(s) while you were on probation, parole,
        supervised release, or escape status, this may increase the number ofpoints assessed
        in your criminal history computation depending on the total number of points
        assessed prior to this calculation. If this increases your Criminal History Category,
        do you understand it may increase the range of sentence calculated under the
        advisory Sentencing Cuidelines? Yes      X         No_
31.    Do you understand if this offense is a crime of violence or a controlled substance
       offense, and if you have two prior felony convictions of either a crime of violence
       or a controlled substance offense, you could be classified as a career offender, which
       would increase the calculation of the sentencing range under the advisory
       Sentencing Guidelines? Yes _            No _        Not Applicable x

32     The maximum sentenc e for each offense to which you want to plead guilty is the
       statutory maximum set out in lflf 19,20, and 21 above. If you are pleading guilty
       to more than one count , you could receive the maximum sentence on each count of
       conviction running con secutively (C/S). See USSG $ 5G1.2. Do you understand
       this'i Yes _       No    _      Not App licable x

33     In certain cases, the law requires the judge to impose a mandatory minimum term
       of imprisonment. The judge may not impose a sentence below a mandatory
       minimum term unless the United States Attomey, in his or her discretion, files a
       motion. Do you understand this? Yes _           No _     Not Applicable x

34     Parole is not available in the federal system. If you are sentenced to a term of
       imprisonment, you will serve the entire time imposed (less any earned good time
       credits that may be applied to reduce the amount of time you actually serve). The
       maximum amount of credit you may receive against your sentence will be
       determined by the Bureau of Prisons and is limited by statute [18 U.S.C. $ 3624].
       Do you understand this? Yes X           No _

35     If a term of imprisonment is ordered in your case, the judge may also impose a term
       of supervised release, which you wilI begin serving after you are released from
       custody. For certain offenses, a term of supervised release is mandatory. During
       any term of supervised release, you will be subject to conditions that will include
       refraining from any additional violations of local, state or federal law, reporting
       requirements, travel and residence restrictions, and testing for controlled substance
       use. Ifyou violate the conditions of your supervised release, the judge may revoke
       your supervised release and sentence you to an additional term of imprisonment.
       This additional term of imprisonment would be served without credit for the time
       you successfully spent on supervised release. Do you understand this?
       Yes X          No


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        The judge has the discretion to impose another term of supervised release, to be
        served after you serve your sentence for violating the first term of supervised
        release. Ifyou violate your supervised release again, you can be sentenced to serve
        more time, followed by more supervised release, at the discretion of the judge.
        Under certain circumstances there is no limit to the number of times supervised
        release can be revoked and another term of supervised release imposed. Do you
        understand this? Yes x        No

36.     In some circumstances, the judge may decide that your case warrants imposing a
        sentence with conditions other than incarceration for the full term of the sentence.
        Options available to the judge include probation, home confinement, community
        confinement, electronic monitoring, intermittent confinement, or a combination of
        any of these. Do you understand this? Yes X           No _

37.     If you plead guilty to a federal sex offense, you may be subject to state laws
       requiring the registration of sex offenders. Do you understand this?
       Yes X         No           Not Applicable

E                -
       VOLUNTARY NATURE OF PLEA

38     Are your plea(s) of GUILTY and the waivers of your rights made voluntarily and
       completely of your own free choice, free of any force or threats or pressures from
       anyone? Yes X                 No _

39.    (a)      Have you entered into a plea agreement with the govemment?
               Yes X            No

       (b) Ifso:
                (i)    Is this a conditional plea pursuant to Fed. R. Crim. P. 11(a)(2) that
                       reserves certain rights to appeal? Yes _       No X

               (ii)    Ifyes, what issues are reserved for appeal?




                (iii) Have you read the plea agreement or had the plea agreement
                      read to you? Yes X       No _




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                  (iv) Have you had enough time to discuss the plea agreement with
                       your attomey? Yes X       No

                  (v)    Were all the terms of the plea -agreement explained to you,
                         including any waivers of your rights? Yes X      No _

                  (vi) Do you understand all of the terms of the plea agreement,
                       including the waivers of your rights? Yes X    No _

                  (vii) What are your reasons for making that agreem ent? I am truly sorry for
                         doing this. It happened in part due to my lack of properly handling slress and
                         family problems. I apologize for my actions and the issues il has caused for my family. I wish to

                         accept responsibility for my actrons and seek help for my problems


                  (viii) Ifyour plea ofGUILTY involves a plea agreement, do you understand
                         that the judge can reject the plea agreement after completion of the
                         presentence investigation if the judge finds that the plea agreement is
                         not in the interests of justice? Yes X        No _

40.     Has any promise been made by anyone that causes you to plead GUILTY aside from
        the plea agreement, if any, set out in your answer to question 39?
        Yes   _     No      X   If yes, what promise has been made and by whom?



41.     (a)     Has any officer, attomey, or agent of any branch of government (federal,
        state, or local) promised or predicted that you will receive a lighter sentence, or
        probation, or any other form of leniency if you plead GUILTY?
        Yes             No X
        (b) Do you understand no one has any authority to make any such promise or
        prediction on your sentence because the matter of sentencing is exclusively within
        the control ofthejudge and no one else? Yes _         No x

42.     Has the judge made any suggestion as to what the actual sentence will be?
        Yes             No x
43. Are you pleading GUILTY because you are guilty? Yes x                                             No

,1 ,1
        Is there any other information or advice that you want befbre you enter a plea?
        Yes             No X


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F.     CONCLUSION/FACTUALBASIS

45.    Has your attorney reviewed and discussed with you all ofthese questions and your
       answers to them? Yes         X No

46. Do you understand all of these questions? Yes X                       No

        Ifnot, which questions do you not understand'l



47. (a)         Do you now want to plead GUILTY? Yes X                       No

       (b) Are you GUILTY? Yes X                       No

48.     State what you did to commit the offense(s) to which you are now pleading
       GUILTY.

ln the Western District of Oklahoma, I had images of child pornography on my home computer. I had
viewed other types of pornography and ventured into view this and truly regret my actions and lwish
to apologize to the Court and my family




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       I understand that if I have knowingly and intentionally made any false answers ln
this Petition to Enter Plea of Guilty, my answers may be used against me in another
prosecution lor perjury or making a false statement.

      Signed by me and alfirmed to be true under pe nalty ofperjury in the presence of my
attomey on this 30th        duy 6f June                        2024



                                                         c


                          CERTIFICATE OF DEFENSE COUNSEL

           I, as attorney for the defendant, Mitchell Green                                    , hereby
certifo:

           l. I have read and fully explained to the defendant the allegations contained in
the Indictment or Information in this case.
       2. To the best of my knowledge and belief the statements, representations, and
declarations made by the defendant in this Petition to Enter Plea ofGuilty are in all respects
accurate and true.
           3.    The plea of guilty offered by the defendant to Count(s)                        1


accords with my understanding of the facts the defendant has related to me, is consistent
with my advice to the defendant, and in my opinion is knowingly and voluntarily made.
        4.    I assure the Court that I have advised the defendant about the applicable
sentencing procedures, including procedures under the Sentencing Guidelines, and I have
explained to the defendant the potential consequences of a plea of guilty in light of the
questions and concems set forth in Sections C and D olthis Petition.

      Signed by me in the presence of the defendant and after fuI1 discussion of the
contents of this certificate with the defendant, this 30th                   day of
                         ,2024



                                                        At        for Defendant




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                    CERTIFICATE OF PR o SECUTING ATTORNEY

        As attorney for the government, I hereby certify:

        l.      I have read and fully discussed with defense counsel the allegations
contained in the Indictment or Information in this case.
       2. I have also reviewed this Petition to Enter Plea of Guilty and find it to be in
accordance with my knowledge of the defendant and this case.
       3. In my judgment, acceptance of the defendant's plea(s) of guilty to the
charge(s) in question will not undermine the statutory urposes of sentencing.

        Signed by me this this      /     day o                                        ,fuL

                                                                    the Government




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